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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                    (Northern Division)

MIKO SQUIRE                                  *

         Plaintiff,                          *

v.                                           *      Civil Action No.: 1:17-cv-03597
                                                    Hon. Marvin J. Garbis
FEDEX FREIGHT, INC.                          *

         Defendant.
               *        *      *      *      *      *      *      *      *

       DEFENDANT’S PARTIAL MOTION TO DISMISS PLAINTIFF’S AMENDED
                             COMPLAINT

                  Defendant FedEx Freight, Inc. (“FedEx”) files its Partial Motion to Dismiss

Plaintiff’s Amended Complaint, as follows:

                  Pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6), FedEx moves for partial

dismissal of the Amended Complaint to the extent its allegations exceed the scope of Plaintiff’s

EEOC charge. On this issue, FedEx is entitled to dismissal under Fed. R. Civ. P. 12 (b)(1) and

12(b)(6). In support of this motion, FedEx has contemporaneously filed its Memorandum of

Points and Authorities in Support of Defendant FedEx Freight, Inc.’s Partial Motion to Dismiss

Plaintiff’s Amended Complaint.

                  WHEREFORE, FedEx respectfully requests that this Court grant its Motion, and

grant all other relief which it deems appropriate for the reasons set forth in the accompanying

Memorandum of Points and Authorities.




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                                              Respectfully submitted,

                                              FEDEX FREIGHT, INC.

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 16th of February 2018, a copy of the foregoing Defendant’s

Partial Motion to Dismiss Plaintiff’s Amended Complaint was filed electronically. Service of

this filing will be made on all ECF-registered counsel by operation of the court's electronic filing

system. Parties may access this filing through the court's system.

                                                      /s/ Timothy S. Bland
                                                      Timothy S. Bland

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